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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

    UNITED STATES OF AMERICA,               Case No. 23-80101-CR
                                            CANNON/REINHART
    vs.

    DONALD J. TRUMP,
    WALTINE NAUTA, and
    CARLOS DE OLIVEIRA,

                Defendants.
    _____________________________________




           PRESIDENT TRUMP’S REPLY BRIEF IN FURTHER SUPPORT OF
                    MOTION TO DISMISS THE INDICTMENT
                 BASED ON THE PRESIDENTIAL RECORDS ACT
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                                          INTRODUCTION

          President Donald J. Trump respectfully submits this reply in support of his motion to

   dismiss the Superseding Indictment pursuant to the Presidential Records Act (“PRA”) (the

   “Motion”), and in response to the amicus brief filed by America First Legal Foundation, ECF No.

   360-1 (the “Amicus Brief”) and the opposition brief by the Special Counsel’s Office, ECF No. 373

   (the “Opposition”).

          The Superseding Indictment must be dismissed. First, because President Trump designated

   the documents at issue in Counts 1–32 as “personal records” pursuant to the PRA, the Special

   Counsel’s Office is foreclosed as a matter of law from establishing that President Trump’s

   retention of the records was “unauthorized” under 18 U.S.C. § 793(e). DOJ, NARA, and even the

   Biden Administration’s White House Counsel have taken similar positions by arguing that PRA

   designations by former Presidents and Vice Presidents are not reviewable in criminal proceedings.

   The Office’s contrary position in these proceedings is meritless and precluded by estoppel

   principles. Second, because NARA’s actions were politically motivated and driven by the Biden

   Administration as a political weapon against President Trump, NARA’s February 2022 sham

   referral and its May 2022 rejection of President Trump’s executive privilege claim violated the

   Administrative Procedure Act. As to the referral, in light of the unbroken chain of custom and

   history of NARA inaction with respect to PRA records designations, there were not “reasonable

   grounds to believe there ha[d] been a violation of Federal criminal law” for purposes of a referral

   under the Inspector General Act, 5 U.S.C. § 404(d). Therefore, the non-Espionage Act charges

   must be dismissed as well.
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                                              DISCUSSION

        I.   President Trump’s PRA Designations Occurred While He Was President

             President Trump’s designation of records as “personal” under the PRA by allegedly

   removing them from the White House while acting as President is not the product of “alchemy.”

   Oppn. at 5. Rather, this is the only fair inference from the Office’s allegation in the Superseding

   Indictment that President Trump “caused” boxes “to be transported” to Mar-a-Lago at a time when

   he was still President. ECF No. 85 ¶ 4. 1 The Office has acknowledged as much. ECF No. 277 at

   3 (arguing that the “genesis” of this case dates back to “the tail end of the Trump Administration

   itself”); see also Oppn. at 19 (referring to “[President] Trump’s eleventh-hour actions at the end

   of his presidency”). This is also the same inference DOJ, NARA, and a district court granted

   President Clinton in Judicial Watch. Similarly in January 2023, a NARA official wrote to former

   Presidents and Vice Presidents to inquire about “materials previously assumed to be personal in

   nature.” 2 The Office makes no effort to address the judicial-estoppel implications of DOJ’s

   representations to the court in Judicial Watch and CREW v. Trump. See Mot. at 10.

       II.   There Can Be No “Unauthorized” Possession Of Records That A President
             Designates As “Personal” Under The PRA

             The Superseding Indictment “fail[s] to state an offense” with respect to Counts 1–32, see

   Fed. R. Crim. P. 12(b)(3)(B)(v), because the PRA authorized President Trump to maintain

   possession of records that he used Article II authority, as President, to designate as “personal.”


   1
     President Trump’s subsequent decision to “return” records in the 15 Boxes or in response to a
   grand jury subpoena did not invalidate his earlier designation. Oppn. at 13. “By giving each
   President complete control over his personal papers, Congress hoped that it would encourage
   Presidents to create and preserve such papers, and that Presidents would later voluntarily donate
   those papers to the National Archives.” ECF No. 327-1 at 63 (DOJ brief in Judicial Watch).
   2
     Michael D. Shear, As Archives Leans on Ex-Presidents, Its Only Weapon Is ‘Please’, N.Y. TIMES
   (Jan. 27, 2023), https://www.nytimes.com/2023/01/27/us/politics/national-archives-bush-
   classified-documents.html.
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   See United States v. Berdeal, 595 F. Supp. 2d 1326, 1328 (S.D. Fla. 2009) (“[A]n indictment fails

   as a matter of law if the defendants’ charged conduct, even if true, does not violate the statute or

   provision cited in the indictment.”); United States v. Madera, 528 F.3d 852, 859 (11th Cir. 2008);

   United States v. Bobo, 344 F.3d 1076, 1086 (11th Cir. 2003); United States v. Matassini, 565 F.2d

   1297, 1313-14 (5th Cir. 1978).         Moreover, because of the ambiguous nature of the term

   “unauthorized” in 18 U.S.C. § 793(e), see ECF No. 325 at 7-8, the rule of lenity further supports

   dismissal. E.g., United States v. Watts, 896 F.3d 1245, 1255 (11th Cir. 2018).

             The argument to the contrary by the Special Counsel’s Office proceeds by characterizing

   the National Security Act, 50 U.S.C. § 3161(a), as a delegation of authority to the Executive

   Branch that led to the promulgation of Executive Order 13526. See Oppn. at 7-8. The National

   Security Act was signed in 1947, prior to the enactment of the PRA. Pursuant to § 3161(a), in

   1951, President Truman signed Executive Order 10290, which was one of a series of successive

   Executive Orders similar to Executive Order 13526. See Executive Order No. 10290, 16 Fed. Reg.

   9795 (Sept. 24, 1951). Thus, by the time Congress enacted the PRA in 1978, it was well aware of

   the authorities the Office is attempting to rely on—and Congress did not draw the distinction

   pressed by the Office between classified and unclassified records in the PRA. See Hall v. United

   States, 566 U.S. 506, 516 (2012) (“We assume that Congress is aware of existing law when it

   passes legislation.”) (cleaned up). To the contrary, as the Office acknowledges, the PRA “does

   not address the subject of classified information at all.” Oppn. at 9.

             The text of the National Security Act does not support the position of the Special Counsel’s

   Office.     The Office admits that Congress “exempted the President” from the scope of the

   regulations authorized by 50 U.S.C. § 3161(a), but the Office contends that the “exemption” is

   irrelevant because it does not apply to a “former President.”            Oppn. at 7.   The assertion



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   misapprehends the relevant timeframe. President Trump designated the records as personal under

   the PRA while he was still in Office, not as a “former President.” At the time of the designation,

   he was expressly exempted from the provisions of Title 50, Subchapter VI, and regulations

   promulgated thereunder. See 50 U.S.C. § 3163. For that reason, the Eleventh Circuit’s assertion

   in a different setting that Executive Order 13526 “pertains equally to former Presidents” is of no

   consequence for purposes of this motion. Trump v. United States, 2022 WL 4366684, at *8 (11th

   Cir. 2022).

          Furthermore, Executive Order 13526 does not—and cannot—override the PRA. See

   Marks v. CIA, 590 F.2d 997, 1003 (D.C. Cir. 1978) (“Of course, an executive order cannot

   supersede a statute.”). Under § 6.1(hh) of Executive Order 13526, the term “[r]ecords” means, in

   pertinent part, “Presidential papers or Presidential records, as those terms are defined in title 44,

   United States Code.” Executive Order No. 13526, 75 Fed. Reg. 707 (Dec. 29, 2009). Thus, the

   Executive Order addresses “classified [presidential] records.” See, e.g., id. § 3.2; see also id. §

   3.4(b) (“The Archivist shall conduct a systematic declassification review program for classified

   records . . . .”). But the Executive Order makes no provision for records that a President designates

   as personal under the PRA, rather than “Presidential,” id. § 6.1(hh)—whether or not they are

   allegedly classified. So Executive Order No. 13526 does not address, much less refute, President

   Trump’s argument regarding his PRA designations.

          The suggestion by the Special Counsel’s Office that President Trump’s designations of the

   records is implausible does not stand to reason. See Oppn. at 9-10. For example, in addition to

   excluding “personal records,” the PRA’s definition of “Presidential records” does not include

   “official records of an agency” or “extra copies of documents . . . .” 44 U.S.C. § 2201(2)(B).

   Surely no one from, for example, the National Security Council or the Intelligence Community



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   left individual original documents in the Oval Office following briefing to President Trump and

   failed to retrieve the documents before the end of President Trump’s first term. The PRA conferred

   discretion on the President to designate those records as personal while he was in Office, 44 U.S.C.

   § 2203(b), NARA’s “responsibility” under the PRA is expressly limited to records deemed

   “Presidential,” id. § 2203(g)(1), and NARA did not “assume responsibility” for those records

   designated “Presidential” until after President Trump’s first term, id. None of these provisions

   distinguish between classified and unclassified records.

          The Special Counsel’s Office cannot escape the import of the PRA’s textual commitments

   of discretion and authority to President Trump during his first term. President Trump also made

   his PRA designations with the full force of the “Article II authority” referenced by the Office.

   Oppn. at 8; see also ECF No. 346 at 7 (reasoning that President Trump was “once the country’s

   chief classification authority”). As a result of President Trump’s designation of the records as

   personal under the PRA, Counts 1–32 fail to state an offense because his alleged retention of the

   documents was not “unauthorized.” Therefore, these charges must be dismissed.

   III.   The Separation Of Powers Doctrine Cannot Save The Superseding Indictment

          There is no “constitutional question” for the Court to “avoid.” Oppn. at 10. DOJ and

   NARA invoked the possibility of “stark separation of powers” problems in Judicial Watch, but in

   a manner that is at odds with the Special Counsel’s Office. Mot. at 11. In Judicial Watch, the

   concern was that judicial review of President Clinton’s individual document designations under

   the PRA would lead to impermissible interbranch conflict. The argument was well-founded. See

   Armstrong v. Bush (“Armstrong I”), 924 F.2d 282, 290 (D.C. Cir. 1991) (“The Archivist also lacks

   the authority under the PRA to inspect the President’s records or survey the President’s records

   management practices.”); CREW v. Cheney, 593 F. Supp. 2d 194, 225 (D.D.C. 2009) (“[T]he Court



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   is left with the undeniable conclusion that Congress vested almost no authority in the Archivist

   and NARA over Vice-Presidential records during a Vice President’s term in office.”).

          As was DOJ’s contention to another federal judge in 2023, which the Special Counsel’s

   Office does not address, that “D.C. Circuit precedent provides that the Court lacks jurisdiction to

   review such day-to-day White House records management decisions under the Presidential

   Records Act.” ECF No. 327-1 at 14. Indeed, Congress was “keenly aware of the separation of

   powers concerns that were implicated by legislation regulating the conduct of the President’s daily

   operations,” and sought “assiduously to minimize outside interference with the day-to-day

   operations of the President.” Armstrong I, 924 F.2d at 290; see also CREW v. Trump, 924 F.3d

   602, 609 (D.C. Cir. 2019) (“[C]ourts have no jurisdiction to review the President’s ‘day-to-day

   operations.’”).

          The unreviewable “day-to-day” operations of the White House include PRA designations

   by President Trump towards the end of his first term in Office. President Obama did not suggest

   otherwise when he promulgated Executive Order No. 13526 in 2009, decades after Congress

   enacted the PRA in 1978. Because the definition of “records” in Executive Order No. 13526

   expressly does not reach personal records under the PRA, the Court would not disrespect the

   Executive Order or the Executive Branch by interpreting the PRA according to its plain terms.

   Thus, the constitutional avoidance cannon has no relevance here.

   IV.    The Special Counsel’s Office Cannot Escape Judicial Watch And History

          President Clinton’s classified tapes, President Reagan’s classified diaries, and the recent

   position taken by President Biden’s White Counsel all support President Trump’s motion.

          The Special Counsel’s Office does not dispute that President Clinton’s tapes contained

   classified information. That much is clear. In Judicial Watch, a DOJ attorney represented to a



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   federal judge that President Clinton “presumably classified the tapes as personal records by not

   transferring them” to NARA. Oppn. at 15. That contention, alone, should be extremely persuasive

   in this proceeding involving attorneys representing the same government. But President Trump’s

   reliance on Judicial Watch is not limited to that part of the transcript. DOJ also contended in

   Judicial Watch that the PRA’s “administrative enforcement scheme is exclusive,” and argued that

   Congress would have to “pass a [new] law” to address any problems with Presidents not properly

   designating records under the PRA. Mot. at 13. There is a bill pending in the U.S. House of

   Representatives that may accomplish some of these things, but the absence of such an enactment

   in January 2021 further supports President Trump’s position that the PRA applies without

   limitation to the records at issue in this case. See id. at 6 n.6. The Special Counsel’s Office failed

   to address the significance of H.R. 1791.

          The court in Judicial Watch agreed with DOJ based on reasoning that is persuasive here.

   The PRA only authorizes NARA to take possession of “records that were designated as

   Presidential” by the President. Judicial Watch, Inc. v. NARA, 845 F. Supp. 2d 288, 300 (D.D.C.

   2012). The designation decision is “to be made by the executive.” Id. NARA lacks “mandatory

   or even discretionary authority” to challenge those designations, and the PRA provides NARA

   with “no role with respect to personal records.” Id. at 291, 301. Judicial Watch is the only case

   cited by either side involving document-specific PRA designations, as opposed to Presidential

   “agreement[s]” with NARA in tension with the PRA and Presidents’ PRA policies and

   “guidelines,” which may be subject to limited review in civil and administrative proceedings. See

   Oppn. at 17-18. DOJ and NARA did not question President Clinton’s possession of tapes

   containing classified information, and it was inconceivable to all involved in Judicial Watch that




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   there was any mechanism, much less a criminal mechanism, to recover them directly from a former

   President.

          DOJ, NARA, and other agencies took the same approach with respect to President Regan’s

   diaries, which “contained classified information.” Oppn. at 11. The Special Counsel’s Office tries

   to seize on the reference to “diaries” in the PRA’s definition of “personal records,” 44 U.S.C.

   § 2201(3)(A), but that argument is inconsistent with the Office’s attempt to “harmonize[]” the

   PRA and Executive Order 13526. Oppn. at 10. If Executive Order No. 13526 and its predecessors

   apply to classified information in “personal” records under the PRA—which would be inconsistent

   with the Order’s definition of “records,” as noted above—then the Order’s predecessors applied

   to President Reagan’s diaries and President Clinton’s tapes to the same extent as President Trump’s

   personal records. These are indeed “real-world facts.” Id. at 13. No one interpreted these

   authorities in that fashion until President Trump announced he was running for reelection.

          Not even the Biden Administration. Specifically, “[t]he White House Counsel’s Office

   and Mr. Biden’s personal attorneys have argued . . . that . . . the [PRA] authorizes a former

   president or vice president to keep classified materials in locations that are not approved for storage

   of classified information at home, as long as those materials are not defined as presidential records

   under the [PRA].” Hur Report at 180. This Special Counsel’s Office should not be permitted to

   prevail on the contrary position here in connection with efforts to incapacitate President Biden’s

   chief political rival and the Republican nominee for President.




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    V.    NARA’s Unlawful Agency Action Supports Dismissal

          The non-Espionage Act counts in the Superseding Indictment cannot stand because they

   are based on unlawful agency action, in violation of the PRA and the Administrative Procedure

   Act. See Mot. at 10-13; see also Amicus Br. at 8-10.

          Beginning in September 2021, NARA worked with the Biden Administration on a

   politically motivated mission to investigate President Trump by abusing the PRA. NARA’s

   response to this political pressure renders unlawful the agency’s actions, including the February

   2022 sham referral, ECF No. 262 at 8-10, and the May 2022 purported waiver of President

   Trump’s executive privilege, id. at 11. See Amicus Br. at 8-10 (citing, inter alia, Aera Energy

   LLC v. Salazar, 642 F.3d 212, 221 (D.C. Cir. 2011) (reasoning that “political pressure invalidates

   agency action . . . when it shapes, in whole or in part, the judgment of the ultimate agency

   decisionmaker”)). The Special Counsel’s Office cites the Inspector General Act, 5 U.S.C.

   § 404(d), but fails to respond to President Trump’s additional argument that the sham referral was

   unlawful. In light of NARA’s customs and practices, there were not “reasonable grounds to

   believe there ha[d] been a violation of Federal criminal law,” under § 404(d), because President

   Trump’s retention of “personal” PRA records was not “unauthorized” under § 793(e). Compare

   Oppn. at 21, with Mot. at 10-11. Therefore, the referral was an improper agency action, in violation

   of the APA. Courts have dismissed charges that are based on unlawful agency action. See Amicus

   Br. at 17-19 (citing cases).

    VI.   NARA’s Exclusive Remedy For Records Collection Is Civil Rather Than Criminal

          Finally, it is straightforward to “reconcile[]” President Trump’s position that a President’s

   PRA designations of individual documents as “personal” cannot lead to “unauthorized” possession

   of those documents—which is supported by prior positions of DOJ, NARA, and the Biden



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   Administration’s White House Counsel—with the exclusive nature of the civil recovery

   mechanism that has been incorporated into the PRA.          Oppn. at 19; see also Prosecutorial

   Misconduct Oppn. at 5 (conceding that “NARA . . . has no enforcement authority”).

   “Agreements,” “policies,” and “guidelines” relating to the PRA may be reviewable, but that must

   occur in civil proceedings rather than criminal prosecutions. Am. Historical Ass’n v. Peterson,

   876 F. Supp. 1300, 1313 (D.D.C. 1995); Cheney, 593 F. Supp. 2d at 217.

          In addition, to our knowledge, there has never been an effort to use a civil replevin action

   to collect allegedly Presidential records from a former President. Rather, all replevin actions for

   this purpose have been brought against third parties and Presidential successors who never wielded

   Article II authority and the discretion to designate records as personal conferred by Congress in

   the PRA. The absence of a criminal penalty in the PRA, and the existence of an exclusive civil

   recovery mechanism that has not been applied to former Presidents, are both consistent with this

   motion. And “[s]uch a lack of historical precedent is generally a telling indication of a severe

   constitutional problem with the asserted power.” Trump v. Anderson, 2024 WL 899207, at *5

   (Mar. 4, 2024) (cleaned up); see also Mot. at 10 (citing additional cases). The Special Counsel’s

   Office expresses concern that a former President might try to “sell” personal documents to the

   “highest bidder.” Oppn. at 20. That is what President Clinton did by permitting Taylor Branch to

   write about tapes containing classified information. In response, DOJ and NARA hardly lifted a

   finger, and no one raided President Clinton’s home. The Special Counsel’s Office should not be

   permitted to predicate an unlawful prosecution on a contrary interpretation of the PRA.

                                           CONCLUSION

          For the foregoing reasons, the Superseding Indictment must be dismissed.




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    Dated: March 13, 2024                 Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I, Christopher Kise, certify that on March 13, 2024, I electronically filed the foregoing

   document with the Clerk of Court using CM/ECF.

                                                  /s/ Christopher Kise
                                                  Christopher Kise
